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                EXHIBIT A
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Marvin, Cynthia

From:                              Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>
Sent:                              Friday, July 14, 2023 7:05 PM
To:                                Singer, Linda; WHJPMCService
Cc:                                DL - Motley Rice JPMC Service; Wohlgemuth, Stephen; Schiffmann, Eden
Subject:                           RE: status of "timeline" data
Attachments:                       JPM-SDNYLIT-VOL-093.zip



CAUTION:EXTERNAL

Linda,

A ached please ﬁnd an encrypted zip ﬁle containing a spreadsheet with the data requested by USVI. A password will
follow shortly.

Have a nice weekend,
Jake

Jake Tuttle Newman | WilmerHale
he/him/his
617.526.6426

From: Singer, Linda <lsinger@motleyrice.com>
Sent: Friday, July 14, 2023 5:33 PM
To: Tuttle Newman, Jake <Jacob.TuttleNewman@wilmerhale.com>; WHJPMCService

Cc: DL - Motley Rice JPMC Service                                               ; Wohlgemuth, Stephen
<SWohlgemuth@wc.com>; Schiffmann, Eden <ESchiffmann@wc.com>
Subject: status of "timeline" data

EXTERNAL SENDER




Jake and all:

Can you give us an update on the promised produc on of the data underlying the spreadsheet, please?

Thanks,
Linda

                   Linda Singer Attorney at Law

                   401 9th St. NW, Suite 630, Washington, DC 20004
                   o. 202.386.9626 f. 202.386.9622
                   lsinger@motleyrice.com




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